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                                                                                                Translation




-----------Original Message------------
Sender : Hyun Kim<hyunc.kim@samsung.com> D5(Senior Designer)/Design Strategy Part/Samsung
Electronics
Date : 2010-02-16 12:38 (GMT+09:00)
Title: Re: MWC (2/15)- P1/P3 Division Head Design Report Meeting Minutes

To pass along a few comments from Senior Designer Cho who went into the Google meeting yesterday,

P1, P3:
- Since it is too similar to Apple, make it noticeably different starting with the front side
- Please contemplate with focus on landscape Orientation.

was what they said.
Detailed meeting minutes will be sent shortly by Senior Designer Kyung Sun Cho.

P.S.
They will probably try to emphasize the differentiation from Apple based on AMOLED and
internet+video/TV/GAME.
Camera-based image search is also an area that Google is investing in for Android.
http://www.google.com/mobile/goggles/#landmark
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